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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.19-20242-CR-UNGARO

    UNITED STATES OF AM ERICA,
                   Plaintiff,

    VS.

    M EGH A N A RA JA DH Y A KSH A ,

                   D efendant.



                            PRELIM INARY O RDER OF FORFEITURE

           THIS CAUSE is before the Courtupon motion of the United States ofAmerica (the
    Siunited States'') for entry of a Preliminary Order of Forfeiture pursuant to 18 U S.C. .



    j981(a)(1)(C),28 U.S.C.j 2461(c) and Rule 32.2(b)(2) of the FederalRules of Criminal
    Procedure. Being fully advised in the prem ises and based on the United States' M otion for

    Preliminary OrderofForfeiture,and M emorandum ofLaw in SupportThereof, the record in this

    m atter,and forgood cause show n thereby,the Courtfinds as follow s:

           O n A pril 30,2019,the United States filed a Four-c ount infonnation against M eghana

    Rajadhyaksha(ûsDefendanf')chargingherwith mailfraudandsaleofstolengoods,inviolationof
    18U.S.C.qj 1341and2315.lnformation,ECF No.13.
           The lnform ation furtheralleged that,upon a conviction ofa violation of 18 U .S.
                                                                                          C.j1341
    or 2315,as alleged in Counts O ne through Four ofthe Inform ation, the G overnm entwould seek

    to forfeitany property,realorpersonal, which constitutesorisderived from proceedstraceable to

    said violations and any property traceable to such property. 1d.atPage 5.
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           On M ay 31,2019,Defendantpled guilty to violationsof 18 U .S.
                                                                       C.j 1341 and 2315,as
    alleged in Counts One through Four ofthe lnform ation, and agreed to forfeita1lofherrighttitle

    andinterestinthefollowing(collectively,dûsubjectPropertf'):
                         BalenciagaLeatherPapierLargeTotewith expandableside;

                         Balenciaga LeatherPapierLarge Tote w ith expandable side;

                         Balenciaga M edium LeatherTote;

                         Bottega Veneta Large M etallic W oven N appa Hobo;

                  e.     B ottaga V eneta K notClutch SoftN appa Leather with Twist;

                  f.     B ottaga V eneta Prem ium N appa Leatherw /checkered Strap;

                  g.     C eline LeatherTote;

                  h.     Celine LeatherSatchel;

                         Chloe Leather Faye Sm allShoulderBag;

                         Chloe LeatherNileSm allBraceletBag;

                 k.      Chloe M ade in Spain Faye Sm allShoulder;

                         Dolce& Gabbana DoceBox Bag in NappaLeather;

                 m.      D olce & G abbana W elcom e Bag w ith Painted R ow ers;

                         Dolce & GabbanaLogo Stam pW eekender;

                 0.      FendiTote;

                        FendiK an 1PearlChain Strap;

                        FendiK an 1W hipstitch Chain Strap;

                        FendiTote;

                        FendiConvertible Crossbody Clutch with chain;

                        FendiConvertible Crossbody Clutch;
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                U.      FendiM iniZaino Backpack'
                                                ,

                        FendiLeatherCrossbody;

                W .     FendiK an 1 Sm allRafia Zucca Crossbody;

                X.      FendiLeatherCrossbody;

                y.      FendiK an 1Shoulder;

                Z.      FendiLeatherCrossbody;

                aa.     FendiKan lCalfLiberty Tk eading Ribbon M ix Color;

                bb.     FendiRunaw ay Bag;

                cc.     FendiShoulderbag/W alleton a chain;

                dd.     FendiKan ILiberty Crossbody;

                ee.     GivenchyLeatherM edium RoyBag;

                        G ivenchy LeatherM edium Sw ay Bag;

                gg.     G ivenchy Sm allA ntigona in Grained Leather;

                hh.     G ivenchy LeatherM edium Sw ay Bag;

                        Givenchy Sm allA ntigona'
                                                ,

               JJ.      GucciM annontsm alltop handle;

                kk.     GucciSm allM annontShoulderBag;

                        G ucciInterlocking Leatherw ith Chain;

                mm . GucciLogo Pattern Backpack'
                                               ,

                nn.     GucciBackpack'
                                     ,

                oo.     GucciLeather Padlock'
                                            ,

               pp.      SaintLauren LeatherM edium Canvas Sac D e Jour;

               qq.      SaintLaurentClassic Baby Sac;
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                         SaintLaurentSac DeJourBaby in Grained Leather;

                  SS.    SaintLaurentLeather Satchel;

                  tt.    SaintLaurentSac D e JourSm allin Crocodile Suede;

                  uu.    SaintLaurentLeatherM edium Sac De JourTote;

                         SaintLaurentLeather Sac D e JourSm allCarryall;

                  ww . SaintLaurentSm allSac D e JourEm bossed CalfSkin;

                         V alentino Candystud Crossbody chain bag;

                  yy.    V alentino Leather M edium Candystud Shoulder;

                  zz.    V alentino LeatherCandystud CrossBody;

                  aaa. V alentino Sm allRockstud M etallic Polym erSpike Chain;

                  bbb. V alentino Rockstud LeatherChain B ag;

                  ccc. V alentino M edium Rockstud Spike Chain M etallic'
                                                                        ,

                  ddd. V alentino Rockstud Spike velvetshoulderbag;

                  eee.   V alentino Leather Backpack;

                  fff.   V alentino Large LeatherRockstud;and

                  ggg. ValentineSmallQuilted Leather.
           PleaAgreem ent,ECF No.22 at% 1,Page 1,1% 8-9 Page4-7.
           Defendantfurtheragreed to the entry ofafodeiture moneyjudgmentin the amountof
     $10,806.25.Id.atParagraph % 12,Page7-8.
           A ccording to the D efendant'sFactualProffer,from in or around N ovem ber 2017 through

     in oraround M arch 2018,the Defendantordered 69 luxury handbags on T.J.M axx'se-com m erce

     website,www.tjmaxx.com.FactualProffer,ECFNo.20,atPage1.W henDefendantreceivedthe
    handbags,she rem oved the T.J.M axx tagsand affixed them to othernon-luxury handbagsnotsold
Case:1:19-cr-20242-UU     Docum ent#:24-1 Entered on FLSD Docket:07/08/2019             Page 5 0f9
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    undertheT.J.M axx ordernumbers.Id.atPage 2. The Defendantthen returned the non-luxury

    handbagsto T.J.M axx,and T.J.M axx issued theDefendantrefunds. 1d.

           On April 9, 2019, law enforcement seized 59 of the 69 luxury handbags from the

    Defenbant'sresidence.Id.atPage3.TheDefendantsoldtheremaining10handbagsthroughan
    online consignmentcom pany and earned $10,806.25 in commission forthese sales.1d.
           TH EREFORE, the United States' M otion for Prelim inary Order of Forfeiture is

    GRAXTED,and itisherebyORDERED that:
                 Pursuantto 18U.S.C.b981(a)(1)(C),28U.S.C.j2461(c),21U.S.C.j853,and
    Rule32.2oftheFederalRulesofCriminalProcedure,aforfeituremoneyjudgmentiptheamount
    of$10,806.25 in U.S.currency ishereby entered againstthe Defendant.
                 The following property ishereby forfeited:

                     BalenciagaLeatherPapierLarge Tote with expandable side;

                     Balenciaga Leather PapierLarge Tote with expandable side;

                 c. Balenciaga M edium LeatherTote;

                 d. Bottega V eneta Large M etallic W oven N appa H obo;

                 e. BottagaVenetaKnotClutch SoftNappa Leatherwith Twist;

                    Bottaga V eneta Prem ium N appa Leatherw/checkered Strap;

                 g. Celine LeatherTote;

                 h. Celine Leather Satchel'
                                          ,

                    Chloe LeatherFayeSm allShoulderBag;

                    Chloe LeatherN ile Sm allBraceletBag;

                 k. Chloe M ade in Spain Faye Sm allShoulder;

                 1. Dolce & G abbana Doce B ox Bag in N appa Leather;
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                m.Dolce& GabbanaW elcom eBag with Painted R owers;

                   D olce & G abbana Logo Stam p W eekender;

                   FendiTote;

                   FendiKan IPearlChain Strap;

                   FendiKan IW hipstitch Chain Strap'
                                                    ,

                   FendiTote;

                   FendiC onvertible Crossbody Clutch with chain;

                   FendiConvertibleCrossbody Clutch;

                u. FendiM iniZaino Backpack'
                                           ,

                v. FendiLeatherCrossbody;

                w . FendiK an ISm allRafia Zucca Crossbody;

                x. FendiLeather Crossbody;

                y. FendiK an l Shoulder;

                   FendiLeatherCrossbody;

                aa.FendiKan 1CalfLiberty Threading Ribbon M ix Color;

                bb.FendiRunaw ay Bag;

                cc.FendiShoulderbagA alleton a chain;

                dd.FendiK an 1Liberty Crossbody;

                ee.Givenchy Leather M edium Roy Bag;

                ff. Givenchy LeatherM edium Sw ay Bag;

                gg.Givenchy Sm allA ntigona in Grained Leather;

                hh.Givenchy LeatherM edium Sw ay Bag;

                ii. G ivenchy Sm allAntigona'
                                            ,
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                jj. GucciM armontsmalltophandle'
                                               ,
                kk.G ucciSm allM arm ontShoulderB ag;

                ll. G uccilnterlocking Leatherw ith Chain;

                m m . G ucciLogo Pattern Backpack'
                                                 ,

                nn.G ucciBackpack;

                oo.G ucciLeatherPadlock'
                                       ,

                pp.SaintLauren LeatherM edium C anvas Sac D e Jour;

                qq.SaintLaurentClassic Baby Sac;

                n'. SaintLaurentSac DeJourBaby in Grained Leather;

                ss. SaintLaurentLeatherSatchel;

                tt. SaintLaurentSac D e JourSm allin Crocodile Suede;

                uu.SaintLaurentLeather M edium Sac D e JourTote;

                vv.SaintLaurentLeatherSac De Jour Sm allCarryall;

                 ww . SaintLaurentSm allSac D e JourEm bossed CalfSkin;

                 xx.V alentino Candystud Crossbody chain bag;

                 yy.V alentino LeatherM edium Candystud Shoulder;

                 zz.V alentino Leather Candystud CrossBody;

                 aaa.   Valentino Sm allRockstud M etallic Polym erSpike Chain;

                 bbb. Valentino Rockstud LeatherChain Bag;

                 ccc. V alentino M edium Rockstud Spike Chain M etallic;

                 ddd. V alentino Rockstud Spike velvetshoulderbag;

                 eee.   V alentino LeatherBackpack'
                                                  ,

                 fff.V alentino Large LeatherRockstud;and
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                   ggg. ValentineSmallQuiltedLeather.
                   An agent of the United States Secret Service, or any duly authorized law

    enforcem ent official, shall as soon as practicable, seize the property ordered forfeited herein

    pursuantto21U.S.C.j8534g)andRule32.2(b)(3)oftheFederalRulesofCriminalProcedure;
             4.    The U nited Statesshallsend and publish notice ofthefod eiture in accordance with

    Rule32.2(b)(6)oftheFederalRulesofCriminalProcedure;
                   TheUnitedStatesisauthorized,pursuanttoRule32.2(b)(3),(c)(1)oftheFederal
    Rules ofCrimini Procedure and 21 U.S.C.9 853(m),tö conductany discovery necessary,
    including depositions,to identify,locate ordispose ofthe property orin orderto expedite ancillary

    proceedings related to any third-party petition;

                   PursuanttoRule 32.2(b)(4)oftheFederalRulesofCriminalProcedure,thisOrder
    is final as to the D efendant and shall be m ade part of each of her sentence of and is hereby

    incorporatedbyreferencein thejudgmentandcommitmentordersissuedinthiscase;and
                   TheCourtshallretainjurisdiction in thismatterforthepurposeofenforcingthis
    Order.

           8.      ItisfurtherORDERED thatupon adjudicationofa11third-party interests,ifany,
    the Courtwillenter a finalorder of forfeiture asto the property in which a11interests willbe

    addressed. lfno claimsarefiled within sixty (60)daysofthefirstday ofpublication orwithin
    thirty(30)daysofreceiptofactualnotice,whicheverisearlier,then,pursuanttoRule32.2(c)(2)
    ofthe FederalRulesofCriminalProcedure,thisOrdershallbecome a FinalOrderpfForfeiture

    and an officialofthe D rug Enforcem entA dm inistration, orany duly authorized 1aw enforcem ent

    official.shalldispose ofthe property in accordance with applicable law .
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           DONE ANo ORDERED in M iam i,Florida,this     /D dayofJuly2019   .




                                           U RSU LA U N G AR O
                                           U N ITED STA TES D ISTR T JUD G E

     CC'   NicoleGrosnoff,AssistantU.S.Attorney(2certifiedcopies)
